              Case 3:05-cr-00395-CRB        Document 375        Filed 06/20/06      Page 1 of 2


     KEVIN V. RYAN (CSBN 118321)
1    United States Attorney

2    MARK L. KROTOSKI (CSBN 138549)
     Chief, Criminal Division
3
     PETER B. AXELROD (CSBN 190843)
4    LAUREL BEELER (CSBN 187656)
     Assistant United States Attorneys
5
         450 Golden Gate Avenue, Box 36055
6        San Francisco, California 94102
         Telephone: (415) 436-6774
7        Facsimile: (415) 436-7234

8    Attorneys for Plaintiff

9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                        SAN FRANCISCO DIVISION
12
13
     UNITED STATES OF AMERICA,                      )       No. CR 05-0395 CRB
14                                                  )
              Plaintiff,                            )       STIPULATION AND [PROPOSED]
15                                                  )       ORDER EXCLUDING TIME FROM JUNE
         v.                                         )       7, 2006 TO SEPTEMBER 11, 2006
16                                                  )       UNDER THE SPEEDY TRIAL ACT
     WU SANG NAH,                                   )
17                                                  )
              Defendant.                            )
18                                                  )

19       The parties hereby stipulate as follows:

20       1. On June 7, 2006, the parties appeared before the Court, and the Court set a September 11,

21   2006 trial date for this matter.

22       2. The parties agree that the time between June 7, 2006 and September 11, 2006 should be

23   excluded from the Speedy Trial clock. Previously, the Court declared this case complex. See 18

24   U.S.C. § 3161(h)(8)(B)(ii). Further, defense counsel is continuing to review the discovery in this

25   case, which exceeds 50,000 pages, and includes numerous Korean language documents and call

26   transcripts. Additionally, the government expects to provide numerous additional boxes of

27   discovery, which defense counsel will need to review to prepare for trial.

28   Thus, the parties agree that a continuance is necessary for the effective preparation of defense

     ORDER
     CR 05-0395 CRB                                     1
            Case 3:05-cr-00395-CRB          Document 375        Filed 06/20/06         Page 2 of 2


     counsel, taking into account the exercise of due diligence. See 18 U.S.C. § 3161(h)(8)(B)(iv).
1
     The parties also agree that the ends of justice served by excluding the period from June 7, 2006
2
     to September 11, 2006 outweigh the interest of the public and the defendant in a Speedy Trial.
3
     See id. § 3161(h)(8)(A).
4
5
     STIPULATED:
6
7     June 19, 2006                            /S/ PETER B. AXELROD
     DATE                                         PETER B. AXELROD
8                                                 LAUREL BEELER
                                                  Assistant United States Attorneys
9
10    June 19, 2006                           /S/ JAMES BUSTAMANTE
     DATE                                         JAMES BUSTAMANTE
11                                                Attorney for Wu Sang Nah

12
                                                 ORDER
13
        For good cause shown, with the agreement of the parties, and for the reasons stated above,
14
     the Court orders time excluded under the Speedy Trial Act, 18 U.S.C. § 3161, from June 7, 2006,
15
     to September 11, 2006. The Court finds that the failure to grant the requested exclusion would
16
     deny defense counsel reasonable time necessary for effective preparation taking into account the
17
     exercise of due diligence. Further, the Court finds the exclusion warranted on complexity
18
     grounds, under 18 U.S.C. § 3161(h)(8)(B)(ii). Thus, the Court finds that the ends of justice
19
     served by granting the requested exclusion outweigh the best interest of the public and the
20
     defendant in a speedy trial and in the prompt disposition of criminal cases. The Court therefore
21
     concludes that this exclusion of time should be made under 18 U.S.C. §§ 3161(h)(8)(A),
22
     (h)(8)(B)(ii) and (h)(8)(B)(iv).
23
                                                                             ISTRIC
                                                                         ES D
            IT IS SO ORDERED.
                                                                        T          TC
24
                                                                      TA
                                                                                                O
                                                                  S




                                                                                                 U




25
                                                                ED




                                                                                                  RT




     DATED:________________
             June 20, 2006                        ___________________________
                                                  CHARLES R. BREYER ORDERED
                                                            UNIT




26                                                                        SO
                                                                   IT ISJudge
                                                  United States District
                                                                                                       R NIA




27

                                                                                          . Breyer
                                                                                  harles R
28
                                                             NO




                                                                          Judge C
                                                                                                       FO
                                                              RT




     ORDER
                                                                                                     LI




     CR 05-0395 CRB                                  2
                                                                     ER
                                                                H




                                                                                                A




                                                                          N                        C
                                                                                               F
                                                                              D IS T IC T O
                                                                                    R
